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Attorney for Carlene Verdie Beauchamp

                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION

In Re:                                                 §
                                                       §
Gibson Farms,                                          §             Case No. 20-20271
                                                       §
         Debtor.                                       §             Chapter 11 Proceeding

            NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

TO THE HONORABLE ROBERT L. JONES, Bankruptcy Judge:

         Please take notice that the undersigned attorney is appearing for Carlene Verdie Beauchamp of

Dumas, Texas, an interested party in the above referenced bankruptcy case.

         Pursuant to Rules 2002 and 9007 of the Federal Rules and Bankruptcy Procedures, the undersigned,

on behalf of said party in interest, hereby requests that all notices given or required to be given in this case,

and all papers served or required to be served in this case be given to the undersigned at the office address

or email set forth below.

                   Max R. Tarbox
                   Tarbox Law, P.C.
                   2301 Broadway
                   Lubbock, Texas 79401
                   806/686-4448; 806/368-9785 (FAX)
                   max@tarboxlaw.com

         Please take further notice that the foregoing request includes the notices and papers referred to in

the Rules specified above and also includes, without limitation, notices of any orders, applications,

complaints, demands, hearings, motions, petitions, pleadings or requests, any other document brought before

this Court in this case, whether formal or informal, whether written or oral, and whether transmitted or


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conveyed by mail, delivery, telephone, telegraph, telex, electronically, or otherwise.

Dated: October 7, 2020

                                                                      Respectfully submitted,

                                                                      TARBOX LAW, P.C.
                                                                      2301 Broadway
                                                                      Lubbock, Texas 79401
                                                                      806/686-4448; 806/368-9785 (FAX)

                                                                      /s/Max R. Tarbox
                                                                      Max R. Tarbox
                                                                      State Bar No. 19639950
                                                                      Attorney for Carlene Verdie Beauchamp


                                            CERTIFICATE OF SERVICE

        I, Max R. Tarbox, do hereby certify that a true and correct copy of the foregoing Notice was served
by court enabled electronic service upon the following listed parties on this 7th day of October, 2020:

1.        All parties in interest registered with the
          U. S. Bankruptcy Court to receive electronic
          notices in this case.


                                                                      /s/ Max R. Tarbox
                                                                      Max. R. Tarbox




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